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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION

UNITED STATES OF AMERICA

vs.                                             CASE NO.: 4:07-CR-034-SPM

THEODORE HARRIS,

           Defendant.
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              ORDER OF REFERRAL FOR PLEA PROCEEDINGS
              BEFORE A UNITED STATES MAGISTRATE JUDGE

      The Court has been informed that the defendant in the above-styled case

wishes to enter a guilty plea and consents to having the guilty plea proceedings

conducted by a United States Magistrate Judge. Pursuant to the provisions of 28

U.S.C. § 636(b)(3) and N.D. Fla. Loc. R. 72.3, it is hereby

      ORDERED AND ADJUDGED that the above-captioned criminal case be

referred to the Honorable William C. Sherrill, Jr., United States Magistrate Judge,

to conduct all of the proceedings required by Rule 11 of the Federal Rules of

Criminal Procedure incident to a guilty plea and to make a recommendation to

the District Judge concerning acceptance or rejection of the guilty plea.

      DONE AND ORDERED this sixth day of June, 2007.


                                     s/ Stephan P. Mickle
                                  Stephan P. Mickle
                                  United States District Judge
